                    Case 19-50256-BLS             Doc 28       Filed 05/12/20         Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                             Chapter 7

    JEVIC HOLDING CORP., et al.,1                                      Case No. 08-11006 (BLS)

                             Debtors.                                  (Jointly Administered)

    THE CIT GROUP/BUSINESS CREDIT, INC., as
    agent for itself and the Lender Group,

    v.                                                                 Adv. Pro. No. 19-50256 (BLS)

    JEVIC HOLDING CORP.; JEVIC
    TRANSPORTATION, INC.; CREEK ROAD
    PROPERTIES, LLC; GEORGE L. MILLER, solely              Related to Adv. Pro. Docket Nos. 19 & 20
    in his capacity as Chapter 7 Trustee of the bankruptcy
    estates of Jevic Holding Corp., et al.; THE
    GOODYEAR TIRE & RUBBER CO.; ACTION
    CALENDAR & SPECIALTY CO., INC.; IRVING
    OIL CORPORATION; HARTFORD FIRE
    INSURANCE COMPANY; THE ILLUMINATING
    COMPANY; PITNEY BOWES GLOBAL
    FINANCIAL SERVICES, LLC; WILLIAMS
    SCOTSMAN, INC.; SUNGARD AVAILABILITY
    SERVICES LP; PACHULSKI STANG ZIEHL &
    JONES LLP; MORRIS ANDERSON &
    ASSOCIATES; and KLEHR, HARRISON,
    HARVEY, BRANZBURG & ELLERS LLP,

                             Defendants.


                  JOINDER OF IRVING OIL CORPORATION
     TO THE MOTION OF PACHULSKI STANG ZIEHL & JONES LLP TO DISMISS
    COMPLAINT FOR FAILURE TO STATE A CLAIM PURSUANT TO F.R.C.P. 12(b)(6)

             Irving Oil Corporation (“Defendant” or “Irving”), by and through its undersigned counsel,

hereby joins (the “Joinder”) in Pachulski Stang Ziehl & Jones LLP’s Motion to Dismiss Complaint

for Failure to State a Claim Pursuant to F.R.C.P. 12(b)(6) [Adv. Pro. Docket No. 19] (the


1
 The Debtors in these Chapter 7 cases, along with the last four digits of the Debtors’ federal tax identification numbers
are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic Transportation, Inc. (3402).
                  Case 19-50256-BLS             Doc 28        Filed 05/12/20        Page 2 of 4




“Motion”) and the supporting Memorandum of Points and Authorities [Adv. Pro. Docket No. 20]

(the “Brief”)2 and reserves its right to file any responsive pleadings with respect to the Motion and

be heard at any hearing on the Motion.

         In support of its Joinder, Irving respectfully represents as follows:

                                               BACKGROUND

                  1.       On May 20, 2008 (the “Petition Date”), Jevic Holding Corporation (“Jevic

Holding”), Creek Road Properties, LLC, and Jevic Transportation, Inc. (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”) in this Court (the “Bankruptcy Court”), commencing the above-

captioned bankruptcy cases (the “Cases”).

                  2.       The Debtors were a hybrid less-than-truckload and truckload carrier that

provided regional and inter-regional time definite delivery across the United States and parts of

Canada. Irving was a supplier of the Debtors businesses both pre- and post-petition and held both

a pre-petition unsecured claim and an administrative claim.

                  3.       As set forth in the Brief, in order to resolve the Cases, Plaintiff CIT

Group/Business Credit, Inc. (“CIT”), the Debtors, the Official Committee of Unsecured Creditors,

and certain other parties, entered into the Settlement Agreement.                   Pursuant to the Settlement

Agreement, CIT paid the CIT Payment to the Debtors and the funds were distributed to

administrative claimants, among others. Among those distributions was payment to Irving in the

amount of $126,803.09 (the “Irving Admin Payment”) as payment for approximately 76% of its

administrative claim. The Irving Admin Payment was paid by check from the Debtors’ estates on

September 30, 2013. Thereafter, on October 18, 2013, Irving received a minimal distribution on


2
         Capitalized terms not otherwise defined herein shall have the meaning ascribed to such term as set forth in
the Brief.


                                                          2
                  Case 19-50256-BLS             Doc 28       Filed 05/12/20        Page 3 of 4




account of its general unsecured claim of $12,662.81 (the “Irving GUC Payment,” together with

the Irving Admin Payment, the “Irving Payments”). To date, Irving has never received a payment

directly from CIT. Subsequent to the Irving Payments, Irving wrote off $306,870.85 of amounts

owed to it by the Debtors.

                 4.       On March 22, 2017, the Supreme Court of the United States overturned the

Bankruptcy Court’s order approving the Settlement Agreement and dismissing these Cases.

Thereafter, the Cases were reopened by the Bankruptcy Court and converted to cases under chapter

7 of the Bankruptcy Code.

                 5.       Plaintiff filed the Complaint on June 3, 2019 [Adv. Pro. Docket No. 1]. The

Complaint seeks return of the distributions made in accordance with the Settlement Agreement,

including the Irving Admin Payment.

                                                   JOINDER

                 6.       Through this Joinder, Irving hereby joins in the arguments raised in the

Motion and Brief and expressly adopts, raises, and incorporates such arguments therein as if fully

set forth herein.3 As set forth more fully in the Brief, CIT has failed to state a claim for declaratory

judgment against Irving as set forth in Count I. Similarly, CIT fails to state a claim pursuant to

restitution due to unjust enrichment as set forth in Count II, because, among other things, CIT did

not pay the Irving Admin Payment to Irving but instead the payment came from the Debtors.




3
         For the avoidance of doubt, Irving joins only in this arguments that are applicable to it. Specifically, the
Brief asserts that the claims of Pachulski Stang & Ziehl, LLP were approved by Court through final fee order.
However, Irving’s claim was instead a post-petition administrative claim and not a professional fee claim approved
by order of this Court


                                                         3
               Case 19-50256-BLS          Doc 28      Filed 05/12/20   Page 4 of 4




                                          CONCLUSION

               7.      Accordingly, for the reasons set forth herein and in the Motion and Brief,

Irving respectfully requests that the Court dismiss the Adversary Proceeding with prejudice and

grant such further relief as it deems just and proper.

Dated: May 12, 2020
                                               /s/ Morgan L. Patterson
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